       Case 8-22-70312-reg       Doc 2    Filed 02/23/22     Entered 02/23/22 16:12:45




                              ACTION BY WRITTEN CONSENT
                        THE SOLE MEMBER OF MONTAUK CLIFFS, LLC

       The undersigned being the sole member of Montauk Cliffs, LLC, a limited liability
company organized and existing under the laws of the State of New York (the "Company") does
hereby take the following actions by written consent, in accordance with the New York Statutes
and that certain operating agreement of the Company:

       RESOLVED, the Company us authorized to file a voluntary petition for relief under
chapter 11 of title 11 of the United States Code (the "Bankruptcy Code") in the United States
Bankruptcy Court for the Eastern District of New York; and it is further

     RESOLVED, that the Company is authorized to retain the law firm of Cullen and
Dykman LLP as counsel in the chapter 11 case under a general retainer; and it is further

        RESO VED, that Eli Wilner, as manager of the Company (the "Manager") is hereby
authorized and empowered to make, execute and deliver such documents as are required to
effectuate the chapter 11 filing; and it is further

         RESOLVED that the Manager is authorized, empowered, and directed in the name and
on behalf of the Company, to execute, acknowledge, deliver and file any and all documents and
to take any and all other action that may be necessary, appropriate or expedient in order to
accomplish the purposes and intent of the foregoing resolution(s).

       IN WITNESS WHEREOF the undersigned executed the foregoing corporate actions for
the purpose of giving their consent to them as of the '/--/./ day of February, 2022.

Sole Member:

Mangos Investors LLLP,
a Florida Limited Liability partnership


By: MANGOS HOLDINGS, LLC,
a FloridaL'mited L. ility company, its general Partner


Eli Wilner, Manager




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